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                      IN THE UNITED STATES DISTRICT COURT FOR
                              THE DISTRICT OF COLUMBIA

                                                            )
STANDING ROCK SIOUX TRIBE,                                  )
                                                            )
        Plaintiff,                                          )
                                                            )
and                                                         )
                                                            )
CHEYENNE RIVER SIOUX TRIBE,                                 )
                                                            )
        Plaintiff-Intervenor,                               )
                                                            )
v.                                                          )       Case No. 1:16-cv-01534 (JEB)
                                                            )        (consolidated with Cases No.
UNITED STATES ARMY CORPS OF                                 )      1:16-cv-01796 & 1:17-cv-00267)
ENGINEERS,                                                  )
                                                            )
        Defendant,                                          )
                                                            )
and                                                         )
                                                            )
DAKOTA ACCESS, LLC,                                         )
                                                            )
        Defendant-Intervenor.                               )
                                                            )

                           UNITED STATES ARMY CORPS OF ENGINEERS’
                              STATUS REPORT REGARDING REMAND

        Pursuant to the Court’s order dated October 18, 2017, the U.S. Army Corps of Engineers

(Corps) respectfully submits this status report regarding the progress of the remand. The Corps

continues to work on the three remand issues. Specifically, the Corps is considering: (1) the

impacts of a potential oil spill on the Tribe’s treaty-protected fishing and hunting rights; (2) potential

environmental justice impacts related to a spill at the pipeline’s Lake Oahe crossing; and (3) whether the

pipeline’s effects are likely to be “highly controversial” in light of alleged scientific flaws that had been

presented to the Corps. As part of the remand process and as previously reported, the Corps has

requested information from the Plaintiffs as well as Energy Transfer Partners. The Corps is


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currently reviewing various submittals from Energy Transfer Partners including a risk analysis,

Integrity Management Plan, environmental justice data, and hunting and fishing impacts

analysis. The Corps also has been having ongoing discussions with Energy Transfer Partners

(including two meetings on December 21, 2017 and January 24-25, 2018) about the information

they have provided.

       The Corps is also reviewing multiple letters from the Plaintiff Tribes. The letters

generally concern the scope, timing, and format of the Corps’ prior information requests instead

of responding with the actual information requested by the Corps. Although the Corps has not

yet received the substantive information requested from the Tribes, the Corps has followed-up

with the Tribes about the Corps’ request for information that will inform the remand analysis.

See ECF 281, 302, and 306.

       The Corps also continues to evaluate available information, including the various reports

and comments previously submitted by the Tribes after the Section 408 permission was granted,

but before the easement was issued. The Corps anticipates that it will be able to meet the

approximate April 2, 2018 remand completion date. ECF 281 at 2. The Corps’ expectation

regarding the time necessary for its remand analysis is based on the Corps’ best estimates,

including considerations of the information received to date from all requested sources.

Dated: February 1, 2017                      Respectfully submitted,

                                                     JEFFREY H. WOOD
                                                     Acting Assistant Attorney General
                                                     Environment & Natural Resources Division

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                                                     Natural Resources Section

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